Case 2:19-cv-00414-JPH-DLP Document 1-1 Filed 08/27/19 Page 1 of 10 PageID #: 222
                                           APPENDIX INDEX



 1. Velma Johnson, Birth Certificate ....................................................................... 1

 2. Susie Johnson v. Ernie Johnson, Divorce, Case No. 55935 ................................ 2

 3. Velma Johnson, Cathedral High School Records ............................................... 4

 4. Carrie Anna Burke, Death Certificate................................................................. 6

 5. William Haberthier, Death Certificate ................................................................ 7

 6. Anna Haberthier, Death Certificate .................................................................... 8

 7. Anna Haberthier, Guardianship, Case No. 27578 ............................................... 9

 8. Velma Purkey, St. Francis Hospital, 5-29-1974................................................ 15

 9. Velma Purkey, St. Joseph Hospital, 6-29-1959 ................................................ 30

 10. Velma Purkey, St. Francis Hospital, 2-03-1973.............................................. 46

 11. Velma Purkey, St. Francis Hospital, 2-02-1972.............................................. 71

 12. Velma Purkey, St. Francis Hospital, 1-31-1981.............................................. 73

 13. Velma Purkey, St. Francis Hospital, 7-10-1973............................................ 201

 14. Velma Purkey, St. Francis Hospital, 12-18-1973.......................................... 218

 15. Velma Purkey, St. Francis Hospital, 8-13-1975............................................ 240

 16. Velma Purkey, St. Joseph Hospital, 5-31-1980 ............................................ 264

 17. Velma Purkey, Death Certificate .................................................................. 322

 18. Jack Wesley Purkey, Birth Certificate .......................................................... 323

 19. Debbie Prothero, Purkey Family Report....................................................... 324

 20. Debbie Prothero, Declaration ....................................................................... 333

 21. Russ Prothero, Declaration ........................................................................... 341

 22. Jack Purkey, Topeka USD School Records .................................................. 344
                                                       1
Case 2:19-cv-00414-JPH-DLP Document 1-1 Filed 08/27/19 Page 2 of 10 PageID #: 223
                                           APPENDIX INDEX


 23. Jack Purkey, Wichita USD School Records ................................................. 354

 24. Jack Purkey, Military Records ..................................................................... 356

 25. Jack Purkey, St. Joseph Hospital, 2-09-1971 ................................................ 416

 26. Jack Purkey, St. Francis Hospital, 8-21-1968 ............................................... 451

 27. Jack Purkey, UMKC Hospital, 3-09-1980 .................................................... 469

 28. Jack Purkey, St. Joseph Hospital, 10-21-1956 .............................................. 564

 29. Jack Purkey, St. Joseph Hospital, 12-01-1956 .............................................. 576

 30. Panic Attack Specifier, DSM V.................................................................... 603

 31. Jack Purkey, Autopsy Report ....................................................................... 607

 32. Roy Allen Purkey, Death Certificate ............................................................ 612

 33. Nancy Purkey, Death Certificate .................................................................. 613

 34. Irene Bartlett, Death Certificate.................................................................... 614

 35. Jack Purkey vs Velma Louise Purkey, Divorce A-13312 ............................. 616

 36. Jack Purkey and Velma Johnson, Marriage Affidavit, No. 37901 ................ 623

 37. Velma Hamilton v. Milo Hamilton ............................................................... 624

 38. Larry Gene Hamilton, Death Certificate ....................................................... 645

 39. Gary Milo Purkey, Declaration, 11-29-2017 ................................................ 646

 40. Milo Hamilton, US Social Security Death Index .......................................... 652

 41. Jack Purkey and Velma Johnson, Marriage License, 5-28-1951 ................... 653

 42. Wesley Purkey, Birth Certificate .................................................................. 654

 43. Marguerite Hotchkiss, Declaration ............................................................... 655

 44. Wesley Purkey, Larned State Hospital, 12-29-1972 ..................................... 657

                                                      2
Case 2:19-cv-00414-JPH-DLP Document 1-1 Filed 08/27/19 Page 3 of 10 PageID #: 224
                                            APPENDIX INDEX


 45. Wesley Purkey, Psychiatric Evaluation, 11-16-1976 .................................... 669

 46. Wesley Purkey, Psychological Evaluation by Dr. Sautter, 4-22-2018........... 673

 47. Gary Hamilton, Declaration, 10-05-2007 ..................................................... 691

 48. Jack Purkey, St. Francis Hospital, 1-26-1977 ............................................... 694

 49. Velma Purkey, Wichita Police Dept., Case No. 17799 ................................. 697

 50. Angie Genail, Declaration, 1-26-2017 .......................................................... 699

 51. Wesley Purkey, Larned State Hospital, 2-04-1999 ....................................... 711

 52. Dion Leiker, Declaration .............................................................................. 761

 53. Jack Purkey and Velma Purkey, Divorce #2................................................. 763

 54. Velma Purkey, Social Security, Itemized Statement of Earnings .................. 819

 55. Velma Purkey, Wichita Police Dept., Case No. 12847 ................................. 830

 56. Wesley Purkey, Peterson Diagnostic Interview Report, 4-19-2000 .............. 835

 57. Robert Bentley, Declaration ......................................................................... 888

 58. Lee Hatfield, Declaration ............................................................................. 892

 59. Velma Purkey, Wichita Police Dept., Case No. 87057 ................................. 897

 60. Margaret Noe, Declaration ........................................................................... 899

 61. Rex Newton, Ph.D., Declaration .................................................................. 901

 62. Stephen E. Peterson, M.D., Declaration ....................................................... 903

 63. Sharon Fisher, Declaration ........................................................................... 908

 64. Garry Monty, Declaration ............................................................................ 914

 65. James Haggard, Declaration ......................................................................... 920

 66. Don Aaron, Declaration ............................................................................... 925

                                                       3
Case 2:19-cv-00414-JPH-DLP Document 1-1 Filed 08/27/19 Page 4 of 10 PageID #: 225
                                           APPENDIX INDEX


 67. Wesley Purkey, Christ the King Education Records ..................................... 930

 68. Wesley Purkey, St. Joseph Education Records ............................................. 932

 69. Dale Hartkemeyer, Declaration .................................................................... 949

 70. Edward Ring, Declaration ............................................................................ 955

 71. Stephen Seely, Declaration........................................................................... 958

 72. Effects of Toluene on Central Nervous System ............................................ 963

 73. Wesley Purkey, Wichita USD Education Records ........................................ 975

 74. Gary Purkey, Sedgwick County, 64CR2796 (CR1559) ................................ 978

 75. Gary Purkey, Sedgwick County, 72CR1013 (CR8458) .............................. 1014

 76. Gary Purkey, Sedgwick County, 69CR669 ................................................ 1038

 77. Gary Purkey, Criminal History Report ....................................................... 1066

 78. Sharon Purkey v Gary Purkey, Divorce, D26961 ....................................... 1074

 79. Sharon Purkey v Gary Purkey, Divorce, D28021 ....................................... 1079

 80. Gary Purkey, Larned State Hospital ........................................................... 1086

 81. Gary Purkey, Sedgwick County, 77CR341 ................................................ 1094

 82. Wesley Purkey, Sautter Evaluation of Mental Health, 4-26-2018 ............... 1100

 83. Wesley Purkey, Sedgwick County, Juvenile Docket .................................. 1114

 84. J. Luis Ibarra Letter to Grey Dresie 2-16-1970 ........................................... 1115

 85. Wesley Purkey, St. Francis Hospital, 12-29-1966 ...................................... 1117

 86. Wes’s Writings in Compassion Magazine .................................................. 1143

 87. Dr. Robert Ouaou Report, 4-24-2017 ......................................................... 1169

 88. Wesley Purkey, St. Francis Hospital, 2-09-1967 ........................................ 1180

                                                      4
Case 2:19-cv-00414-JPH-DLP Document 1-1 Filed 08/27/19 Page 5 of 10 PageID #: 226
                                        APPENDIX INDEX


 89. Wesley Purkey, Wichita Police Dept., Arrest Report, 1-17-1968 ............... 1195

 90. Wesley Purkey, St. Joseph Hospital, 3-08-1968 ......................................... 1204

 91. Wesley Purkey, Sedgwick County Civil Lawsuit, C14479 ......................... 1237

 92. Wesley Purkey, St. Joseph Hospital, 4-29-1968 ......................................... 1251

 93. Wesley Purkey, St. Francis Hospital, 11-17-1968 ...................................... 1253

 94. Wesley Purkey, St. Joseph Hospital, 8-31-1972 ......................................... 1266

 95. Wesley Purkey, KSIR, 5-24-1971 .............................................................. 1291

 96. Wesley Purkey, St. Francis Hospital, 5-28-1976 ........................................ 1294

 97. Wesley Purkey Letter to Attorney Grey Dresie, 5-19-1971 ........................ 1300

 98. Wesley Purkey, Social Security, Itemized Statement of Earnings .............. 1301

 99. Wesley Purkey, Psychiatric Evaluation, 11-16-1976 .................................. 1311

 100. Paul Murphy Letter to Dr. Targownik, 2-15-1976 .................................... 1315

 101. Wesley Purkey, Wesley Medical Center, 2-15-1976 ................................ 1316

 102. Velma Purkey, Wichita Police Dept., M-93941........................................ 1353

 103. Velma Purkey, St. Francis Hospital, 12-26-1972 ...................................... 1360

 104. Velma Purkey, Wichita Police Dept., L-90655 ......................................... 1378

 105. Velma Purkey, Wichita Police Dept., G-39699 ........................................ 1380

 106. Velma Purkey, Wichita Police Dept., L-84965 ......................................... 1383

 107. Velma Purkey, Wichita Police Dept., M-97820........................................ 1385

 108. Wesley Purkey, KDOC Inmate Data Sheet, 8-08-2001 ............................ 1388

 109. Wesley Purkey, KDOC Segregation Records ........................................... 1389

 110. State of Kansas, Ombudsman for Corrections, 2nd Annual Report ............ 1401

                                                   5
Case 2:19-cv-00414-JPH-DLP Document 1-1 Filed 08/27/19 Page 6 of 10 PageID #: 227
                                          APPENDIX INDEX


 111. Wesley Purkey, Kansas State Penitentiary, 90 Day Review ..................... 1411

 112. Mike Hornecker, Declaration ................................................................... 1412

 113. Claire Berry, Sedgwick County, 86TR19256 ........................................... 1416

 114. Claire Purkey v Wesley Purkey, Shawnee County, 81-D-798 .................. 1418

 115. Carrie Burke, Burial Services Pamphlet .................................................. 1428

 116. Wesley Purkey, KDOC Arrest Report, 8-12-1980 .................................... 1436

 117. Angie Purkey, Birth Certificate ................................................................ 1438

 118. Wesley Purkey, Arrest Record, 8-04-1980 ............................................... 1439

 119. Wesley Purkey, Certificate of Parole, 3-01-1997...................................... 1440

 120. Wesley Purkey, Administrative Segregation Review, 4-17-1986 ............. 1441

 121. Robert T. Stephan, Statement of Attorney General, 2-23-1989................. 1442

 122. Wesley Purkey, PHS Medical History and Physical, 1-11-1993 ............... 1456

 123. Wesley Purkey, GED Test Results ........................................................... 1458

 124. Wesley Purkey, Chemeketa Community College ..................................... 1459

 125. KDOC Interdepartmental Memo, 6-07-1994 ............................................ 1460

 126. Jeanette Broyles, Declaration ................................................................... 1461

 127. Wesley Purkey, Dietz Evaluation, 10-07-2003 ......................................... 1466

 128. Wesley Purkey, Counseling Parole Notes................................................. 1553

 129. Angela Purkey, Sedgwick County, 98CR00176 ....................................... 1558

 130. Wesley Purkey, KU Medical Records, 9-13-1998 .................................... 1560

 131. Wesley Purkey, Western District Missouri, Docket Sheet, 01-CR-00308 . 1565

 132. Wesley Purkey, Western District Missouri, Trial Judgment ..................... 1622

                                                     6
Case 2:19-cv-00414-JPH-DLP Document 1-1 Filed 08/27/19 Page 7 of 10 PageID #: 228
                                           APPENDIX INDEX


 133. Death Row: The Lawyer Who Keeps Losing, 11-24-2016 ....................... 1625

 134. Laura O’Sullivan, Declaration, 5-3-2017 ................................................. 1638

 135. Defense Investigator Initial Request ......................................................... 1645

 136. Defense Investigator Supplemental Request ............................................. 1649

 137. Michael Armstrong, MSPD Personnel Info .............................................. 1654

 138. Mona Spencer, Declaration ...................................................................... 1660

 139. Anita Burns, Declaration .......................................................................... 1665

 140. Anita Burns, Clay County, Full Order of Protection, CV 197-6788.......... 1670

 141. Michael Armstrong v. MSPD, Clay County, CV 197-006492 ................. 1740

 142. Michael Armstrong, Private Investigator Licensing Missouri................... 1910

 143. Barbara Hoppe Letter to Fred Duchardt ................................................... 1911

 144. Katherine Ladesh, Clay County, Full Order of Protection, CV197-6789 .. 1912

 145. Trial Transcript page 566 ......................................................................... 1967

 146. Michael Speakman, FBI Report, 11-28-2001 ........................................... 1968

 147. Stephen Peterson, M.D., Declaration ........................................................ 1971

 148. Wesley Purkey, Motion to Suppress Transcript ........................................ 1976

 149. Trial Transcript pages 1042-1043 ............................................................. 1977

 150. Trial Transcript pages 1128-1130 ............................................................. 1979

 151. Trial Transcript page 1104 ....................................................................... 1982

 152. Michael Armstrong, Death Notice ............................................................ 1983

 153. Angie Genail, Declaration, 3-22-2008 ...................................................... 1984

 154. Dr. Cunningham Letter to Duchardt, 12-19-2002 ..................................... 1987

                                                      7
Case 2:19-cv-00414-JPH-DLP Document 1-1 Filed 08/27/19 Page 8 of 10 PageID #: 229
                                           APPENDIX INDEX


 155. Trial Transcript pages 1816-1817 ............................................................. 1994

 156. Trial Transcript pages 1933-1935 ............................................................. 1996

 157. Trial Transcript pages 2267-2268 ............................................................. 1999

 158. Special Verdict Form ............................................................................... 2001

 159. Trial Transcript page 2257 ....................................................................... 2011

 160. Trial Transcript page 2297 ....................................................................... 2012

 161. Trial Transcript page 2309 ....................................................................... 2013

 162. Trial Transcript page 2310 ....................................................................... 2014

 163. Trial Transcript page 2313 ....................................................................... 2015

 164. Gary Brotherton, Supreme Court of Missouri, Order, 7-08-2016.............. 2016

 165. 2255 Petition, Western District Missouri.................................................. 2018

 166. Affidavit of Frederick Duchardt, Jr., 5-09-2008 ....................................... 2074

 167. Juror 13 Questionnaire, Redacted ............................................................. 2191

 168. Trial Transcript pages 10-11 .................................................................... 2224

 169. Trial Transcript pages 55-56 .................................................................... 2226

 170. Challenges to Venire Based on Questionnaire, 10-10-2003 ...................... 2228

 171. Order Regarding Venire Challenges, 10-10-2003 ..................................... 2235

 172. Request and Proposed Procedure for Small Group Voir Dire ................... 2237

 173. Trial Transcript page 358 ......................................................................... 2244

 174. Trial Transcript page 366 ......................................................................... 2245

 175. Teresa Norris, Declaration ....................................................................... 2246

 176. Fred Duchardt, Jr. and Michael Armstrong, MSPD Records .................... 2256

                                                       8
Case 2:19-cv-00414-JPH-DLP Document 1-1 Filed 08/27/19 Page 9 of 10 PageID #: 230
                                            APPENDIX INDEX


 177. Michael Armstrong, Clay County, MU197-431 ....................................... 2257

 178. Michael Speakman, Declaration ............................................................... 2289

 179. BVM Nuns, St. Joseph’s Catholic School ................................................ 2294

 180. Jennifer Merrigan, Declaration ................................................................. 2295

 181. 2255 Memorandum of Law, 11-30-2007 .................................................. 2301

 182. Motion for Order Requiring Trial Counsel to Prepare Affidavit ............... 2385

 183. Government’s Response to 2255, 5-20-2008 ............................................ 2393

 184. 2255 District Court Judgment, 9-29-2009 ................................................ 2570

 185. Wesley Purkey, Appendix Volume V....................................................... 2576

 186. Laura O’Sullivan, Declaration, 10-16-2007.............................................. 2585

 187. Proposed Budget, 1-29-2002 .................................................................... 2593

 188. Ex Parte Motion for Funds to Obtain Psychiatric Expert Assistance ........ 2604

 189. Ex Parte Motion for Funds to Obtain Mitigation Expert Assistance ......... 2609

 190. Mental Defense, Duchardt Letter to Whitworth, 8-21-2003...................... 2615

 191. Mark Cunningham, Ph.D., Declaration .................................................... 2618

 192. Mark Cunningham, Ph.D., Report, 10-23-2003 ........................................ 2629

 193. Ex Parte Motion (Cunningham), 4-11-2002 ............................................. 2696

 194. Frederick Duchardt, Sinisterra Affidavit 11-26-2006 ............................... 2734

 195. Jennifer Herndon, Sinisterra Affidavit, 12-02-2004.................................. 2758

 196. Lawrence Fox, Report, 9-15-2008 ............................................................ 2768

 197. Jury Instruction No. 34 ............................................................................. 2778

 198. Jury Instruction No. 38 ............................................................................. 2782

                                                       9
Case 2:19-cv-00414-JPH-DLP Document 1-1 Filed 08/27/19 Page 10 of 10 PageID #: 231
                                             APPENDIX INDEX


  199. Trial Transcript page 2297 ....................................................................... 2783

  200. Trial Transcript page 2309 ....................................................................... 2784

  201. Trial Transcript page 2310 ....................................................................... 2785

  202. Trial Transcript page 2312 ....................................................................... 2786

  203. Bradley Young, Declaration ..................................................................... 2787

  204. Robert Barnes, Declaration ...................................................................... 2790

  205. Jennifer Hernandez, Declaration .............................................................. 2793

  206. Steven Barquist, Declaration .................................................................... 2798

  207. Jury Instruction No. 31 ............................................................................. 2801

  208. Jury Instruction No. 32 ............................................................................. 2805

  209. Jury Instruction No. 35 ............................................................................. 2807

  210. Sentencing Hearing Transcript, 1-23-2004 ............................................... 2810

  211. Gary Purkey, Cheyenne Regional Medical Center, 2-05-2015 ................. 2832

  212. Gary Purkey, Mary Lanning Memorial Hospital, 1-29-1992 .................... 2837

  213. Dr. Peterson Report, 8-13-2003 ................................................................ 2839

  214. KDOC Sentence Data Sheet ..................................................................... 2904

  215. Dr. Leeson Report .................................................................................... 2905




                                                        10
